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  Attachment 2: Updated and
  Notarized Statement from
       Christina Harkey
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From:                            Christina Harkey <charkeyyy97@gmail.com>
Sent:                            Thursday, November 4, 2021 7:16 PM
To:                              Strippoli, Briena (ENRD)
Subject:                         [EXTERNAL] CASEno.6:20-cv-00423-JFH US vs.LOWE
Attachments:                     FILE_6260.pdf




Amended info to original statement and notarized
Verified copies of this document have been mailed to both Brienna and Susan via US Mail



Christina Harkey




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6:20-cv-00423-JFH Document 152-2 Filed in ED/OK on 11/17/21 Page 4 of 4
